                                                               Case 23-10548-JKS                                      Doc 753-1                 Filed 12/26/23           Page 1 of 3
                                                                                                                                    EXHIBIT A
       JX              Date                                     Description                                    Begin Bates Number         End Bates Number   Deposition Exhibit Number   Carnival's Objection   Invictus's Objection
                                    Master License and Services Agreement for DeCurtis’s MAS Product
                        7/2/2015
                                    [ECF 516; Ex. 1]

                      9/14/2016 Statement of Work 16 [ECF 516; Ex. 2]

                                 Email thread from D. Fournier to J. Learish and D. DeCurtis re
                      8/11/2017                                                                          DeCurtis_01637440
                                 Action Needed [ECF 517; Ex. 6]
                                 Email thread from J. Learish to C. Collins, D. Choudhury and others
                        4/3/2019                                                                         DeCurtis_00854052           DeCurtis_00854053
                                 re C-3 Code secured? [ECF 517; Ex. 7]

                                Email thread from C. Chen Delano to D. Fournier and others re
                      3/27/2023                                                                          DECURTISBK_00020261
                                Escrow Agreement [ECF 517; Ex. 13]

                                    Meeting Invitation from A. Patel to D. Fournier and others re VV
                    3/28/2023                                                                            DECURTISBK_00017908         DECURTISBK_00017909
                                    Escrow Progress [ECF 517; Ex.3]
                                Email thread from D. Fournier to A. Patel and others re VV Escrow
                    3/28/2023                                                                            DECURTISBK_00020425         DECURTISBK_00020437
                                Progress with attachment [ECF 517; Ex. 8]
                                Email from C. Chen Delano to J. Learish and others re Escrow
                    3/29/2023                                                                            DECURTISBK_00016960         DECURTISBK_00016961
                                Agreement – FINAL REVIEW [ECF 517; Ex. 4]
                                Email thread from J. Learish to D. Fournier and other re Escrow
                    3/29/2023                                                                            DECURTISBK_00020207         DECURTISBK_00020208
                                Agreement [ECF 517; Ex. 10]
                                Email thread from J. Learish to C. Chen and others re Escrow
                    3/29/2023                                                                            DECURTISBK_00016484         DECURTISBK_00016485
                                Agreement – FINAL REVIEW [ECF 517; Ex. 11]
                                Email thread from. J. Martinez to C. Chen and others re Escrow
                      3/30/2023                                                                          DECURTISBK_00021652         DECURTISBK_00021653
                                Agreement [ECF 517; Ex. 9]
                                Email thread from A. Patel to D. Fournier re DeCurtis-Escrow
                      3/31/2023                                                                          DECURTISBK_00014278         DECURTISBK_00014283
                                Agreements Fully Executed [ECF 517; Ex. 12]
                    4/26/2023 A. Patel (Invictus) letter to N. Groombridge (Groombridge)                 INVICTUS_CHP700000638       INVICTUS_CHP700000640     Chen Delano Exhibit 16
                    4/26/2023 Letter from A. Patel (Invictus) to N. Groombridge (Groombridge)            INVICTUS_CHP700000638       INVICTUS_CHP700000640
                                Transcript regarding Hearing Held 6/7/2023 RE: Omnibus Hearing
                     6/7/2023
                                (Carnival Stay Relief Motion) [ECF 226]
                                Email thread S. Routh to E. Lazerowitz, C. Speckhart and others re
                    6/21/2023                                                                            N/A
                                Motion to Reject – RE 408 [ECF 517; Ex. 5]
                                    Transcript regarding Hearing Held 6/21/2023 RE: Status Conference
                    6/21/2023
                                    (Bidding Proceedures and Rejection Motion) [ECF 275]

                                    Transcript regarding Hearing Held 6/22/2023 RE: Status Conference
                    6/22/2023
                                    (Bidding Proceedures and Rejection Motion) [ECF 293]
                                Final Order (I) Authorizing the Debtors to Obtain Postpetition
                                Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
                                Granting Liens and Providing Superpriority Administrative Expense
                    6/23/2023
                                Status, (IV) Granting Adequate Protection to the Secured Lenders,
                                (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and
                                (VII) Granting Related Relief [D.I. 285]
                                Transcript regarding Hearing Held 7/17/2023 RE: PreTrial
                    7/17/2023
                                Conference [Adv. 23-50413; ECF 41]
                                Transcript regarding Hearing Held 7/18/2023 RE: Trial [Adv. 23-
                    7/18/2023
                                50413; ECF 42]
                                Transcript regarding Hearing Held 7/19/2023 RE: Trial [Adv. 23-
                    7/19/2023
                                50413; ECF 43]
                                Transcript regarding Hearing Held 7/20/2023 RE: Trial [Adv. 23-
                    7/20/2023
                                50413; ECF 44]
                                Transcript regarding Hearing Held 8/4/2023 RE: Status Conference
                     8/4/2023
                                (Motion to Seal) [ECF 453]
                                Opinion Regarding Ownership of the DXP Assets and Carnival’s
                       8/9/2023
                                Request for Declaratory and Injunctive Relief [ECF No. 459]
                                Email thread from D. Soto to N. Groombridge and others re DeCurtis
                    8/13/2023                                                                         INVICTUS_CHP700001600          INVICTUS_CHP700001606
                                Meeting
                                Memorandum Order Regarding Carnival Corporation’s Standing
                    8/14/2023
                                Motion and Credit Bid Motion [D.I. 465]
                    8/16/2023 Notice of Termination Declaration of DIP Obligations [D.I. 473]
                    8/17/2023 C. Chen Delano email to A. Patel and others re Sync Up                  INVICTUS_CHP700001046          INVICTUS_CHP700001048     Chen Delano Exhibit 6
                    8/17/2023       Email thread from C. Chen Delano to A. Patel and others re Sync Up INVICTUS_CHP700001046         INVICTUS_CHP700001048
                                Transcript regarding Hearing Held 8/17/2023 RE: Status Conference
                    8/17/2023
                                [Adv. 23-50413; ECF 69]
                                Email from C. Chen Delano to J. Learish, J. Carino and others re
                    8/19/2023                                                                            INVICTUS_CHP700000086
                                Strict Foreclosure
                                Email thread from C. Chen Delano to D. Hillman and others re
                    8/19/2023                                                                            INVICTUS_CHP700000421       INVICTUS_CHP700000422
                                DeCurtis
                                Email from J. Learish to E. Lazerowitz and others re Strict
                      8/20/2023                                                                          INVICTUS_CHP700000339       INVICTUS_CHP700000343
                                Foreclosure
                                Notice of Exercise of Remedies by DIP Agent Pursuant to Final DIP
                    8/21/2023
                                Order [D.I. 503]
                    8/21/2023 Notice of Filing of DIP Post-Termination Budget [ECF No. 494]
                                Notice of Exercise of Remedies by DIP Agent Pursuant to Final DIP
                    8/21/2023
                                Order [ECF No. 503]
                    8/21/2023 8/21/2023 Hearing Transcript
                    8/21/2023 D. Hillman email to E. Lazerowitz and C. Speckhart re DeCurtis             INVICTUS_CHP700000344                                 Chen Delano Exhibit 7
                    8/21/2023       Hearing Transcript                                                                                                         Chen Delano Exhibit 13

                    8/21/2023                                                                            INVICTUS_CHP700000344                                 Chen Delano Exhibit 14
                                    D. Hillman email to E. Lazerowitz and C. Speckhart re DeCurtis
                    8/21/2023                                                                            INVICTUS_CHP700000344                                 Chen Delano Exhibit 15
                                    D. Hillman email to E. Lazerowitz and C. Speckhart re DeCurtis
                    8/21/2023       Schedule 1(a) – DIP Collateral Draft                                INVICTUS_CHP700000172        INVICTUS_CHP700000197
                                    Email from D. Hillman to E. Lazerowitz and C. Speckhart re
                    8/21/2023                                                                           INVICTUS_CHP700000344
                                    DeCurtis
                                    Transcript regarding Hearing Held 8/21/2023 RE: Status Conference
                    8/21/2023
                                    [Adv. 23-50413; ECF 77]
                                    Carnival Corporation’s Response and Objection to Notice of Exercise
                    8/23/2023       of Remedies By DIP Agent Pursuant to Final DIP Order [ECF No.
                                    510]
                                    SEALED Declaration of Erik de la Iglesia in Support of 356(n)
                    8/23/2023
                                    Motion
                                    U. Ghosh email to J. Carino and others with attachment re Schedules
                    8/23/2023                                                                           INVICTUS_CHP700000146        INVICTUS_CHP700000171     Chen Delano Exhibit 8
                                    and Agreement for Foreclosure
                                    Email thread from E. Lazerowitz to J. Sazant re DeCurtis – Partial
                    8/23/2023                                                                            INVICTUS_CHP700000483       INVICTUS_CHP700000484
                                    Strict Foreclosure Agreements
                    8/24/2023       Notice of Proposed Permanent Injunction [Adv Proc. D.I. 80]




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       JX              Date                                     Description                                    Begin Bates Number       End Bates Number    Deposition Exhibit Number   Carnival's Objection   Invictus's Objection
                                    Notice of Filing Debtors’ Proposed Order Related to the Opinion
                    8/24/2023       Regarding Ownership of the DXP Assets and Carnival’s Request for
                                    Declaratory and Injunctive Relief [ECF No. 529]
                                    Notice of Exercise of Remedies By DIP Agent Pursuant to Final DIP
                    8/24/2023
                                    Order [ECF No. 530]
                    8/24/2023       Partial Strict Foreclosure Agreement [ECF No. 530-1]
                    8/24/2023       8/24/2023 Hearing Transcript
                                    Partial Strict Foreclosure Agreement between Invictus Special
                    8/24/2023       Situations Master I, L.P., Invictus Global Management, LLC,                                                               Chen Delano Exhibit 3
                                    UnumX, DeCurtis LLC, DeCurtis Holdings LLC
                                    T. Dean email to E. Lazerowitz and other with attachment re
                    8/24/2023                                                                            INVICTUS_CHP700000355      INVICTUS_CHP700000393     Chen Delano Exhibit 9
                                    DeCurtis/DIPL - India
                    8/24/2023       S. Sharpe email to E. Lazerowitz and others with attachment          INVICTUS_CHP700000215      INVICTUS_CHP700000251     Chen Delano Exhibit 10
                    8/24/2023       Hearing Transcript                                                                                                        Chen Delano Exhibit 12
                                    Email from U. Ghosh to D Fournier and others re Schedules and
                    8/24/2023                                                                            INVICTUS_CHP700000207      INVICTUS_CHP700000210
                                    Agreement for Foreclosure
                                    Email thread from S. Sharpe to E. Lazerowitz and others re
                    8/24/2023                                                                            INVICTUS_CHP700000215      INVICTUS_CHP700000338
                                    FORECLOSURE CLOSING at 7:15 PM and attachments
                                    Email thread from D. Hillman to S. Sharpe and others re
                    8/24/2023       FORECLOSURE CLOSING AT 7:25 PM – CLOSING                             INVICTUS_CHP700000446      INVICTUS_CHP700000453
                                    COMPLETE
                                    Email from J. Learish to C. Chen Delano and others re New Org
                    8/24/2023                                                                            INVICTUS_CHP700001031      INVICTUS_CHP700001040
                                    Structure and attachment
                                    Transcript regarding Hearing Held 8/24/2023 RE: Status Conference
                    8/24/2023
                                    [Adv. ECF 85]
                    8/25/2023       Order regarding Ownership Issue [ECF 533]
                    8/25/2023       Permanent Injunction [ECF No. 534]

                    8/28/2023       Response and Objection to Second Notice of Exercise of Remedies by
                                    DIP Agent Pursuant to Final DIP Order [D.I. 540]
                    8/29/2023       Offer of Employment to M. Scott                                    INVICTUS_CHP700000952        INVICTUS_CHP700000954
                    8/29/2023       Offer of Employment to E. Plaezkowski                              INVICTUS_CHP700000955        INVICTUS_CHP700000957
                    8/29/2023       Offer of Employment to M. Clennon                                  INVICTUS_CHP700000961        INVICTUS_CHP700000964
                    8/29/2023       Offer of Employment to R. Rutowski                                 INVICTUS_CHP700000965        INVICTUS_CHP700000968
                    8/29/2023       Offer of Employment to E. Visser                                   INVICTUS_CHP700000969        INVICTUS_CHP700000971
                    8/29/2023       Offer of Employment to E. Holub                                    INVICTUS_CHP700000972        INVICTUS_CHP700000974
                    8/29/2023       Offer of Employment to R. Arnold                                   INVICTUS_CHP700000975        INVICTUS_CHP700000978
                    8/29/2023       Offer of Employment to C. Bentubo                                  INVICTUS_CHP700000979        INVICTUS_CHP700000981
                    8/29/2023       Offer of Employment to K. Mongwa                                   INVICTUS_CHP700000982        INVICTUS_CHP700000984
                    8/29/2023       Offer of Employment to S. Crawley                                  INVICTUS_CHP700000985        INVICTUS_CHP700000988
                    8/29/2023       Offer of Employment to N. Aluri                                    INVICTUS_CHP700000992        INVICTUS_CHP700000994
                    8/29/2023       Offer of Employment to K. Ramos                                    INVICTUS_CHP700000995        INVICTUS_CHP700000997
                    8/29/2023       Offer of Employment to A. Saxena                                   INVICTUS_CHP700001008        INVICTUS_CHP700001010
                    8/29/2023       Offer of Employment to P. Basilyous                                INVICTUS_CHP700001011        INVICTUS_CHP700001013
                    8/29/2023       Offer of Employment to B. Hall                                     INVICTUS_CHP700001017        INVICTUS_CHP700001019
                    8/29/2023       Offer of Employment to O. DeHaas                                   INVICTUS_CHP700001020        INVICTUS_CHP700001022
                                    Email thread from U. Ghosh to R. Voerg and others re Bank Accounts
                    8/29/2023                                                                          INVICTUS_CHP700001500        INVICTUS_CHP700001506
                                    and attachments
                                Transcript regarding Hearing Held 8/29/23 RE: Conversion Motion
                    8/29/2023
                                [ECF 556]
                    8/31/2023 Offer of Employment to Jim Learish                                         INVICTUS_CHP700000958      INVICTUS_CHP700000960     Chen Delano Exhibit 18
                    8/31/2023 Offer of Employment to Derek Fournier                                      INVICTUS_CHP700000989      INVICTUS_CHP700000991     Chen Delano Exhibit 19
                    8/31/2023 Offer of Employment to J. Learish                                          INVICTUS_CHP700000958      INVICTUS_CHP700000960
                    8/31/2023 Offer of Employment to D. Fournier                                         INVICTUS_CHP700000989      INVICTUS_CHP700000991
                    8/31/2023 Offer of Employment signature page – B. Prova                              INVICTUS_CHP700000998
                    8/31/2023 Offer of Employment to J. Carino                                           INVICTUS_CHP700000999      INVICTUS_CHP700001001
                    8/31/2023 Offer of Employment to B. Aghevli                                          INVICTUS_CHP700001002      INVICTUS_CHP700001004
                    8/31/2023 Offer of Employment to E. Murroni                                          INVICTUS_CHP700001005      INVICTUS_CHP700001007
                    8/31/2023 Offer of Employment to M. Winans                                           INVICTUS_CHP700001014      INVICTUS_CHP700001016
                    8/31/2023 Email from U. Ghosh to J. Carino re Offer Letters and attachment           INVICTUS_CHP700001507      INVICTUS_CHP700001510
                                Email thread from U. Ghosh to C. Chen Delano and others re FYI –
                     9/1/2023                                                                            INVICTUS_CHP700001496      INVICTUS_CHP700001499
                                Ennio and attachment
                       9/5/2023 E. Murroni email to M. Clennon and others re rebrand                     N/A                                                  Chen Delano Exhibit 20
                                Email thread from A. Patel to A. Zyngier and others re Batuta
                     9/6/2023                                                                            INVICTUS_CHP700001102      INVICTUS_CHP700001103
                                Engagement Letter DeCurtis September 2023
                     9/6/2023 Letter from A. Zyngier (Batuta) to A. Patel (Invictus)                     INVICTUS_CHP700001104      INVICTUS_CHP700001110
                                Email thread from A. Patel to A. Zyngier and others re Batuta
                     9/6/2023                                                                            INVICTUS_CHP700001530      INVICTUS_CHP700001532
                                Engagement Letter DeCurtis September 2023
                       9/7/2023 Batuta Capital Advisors Invoice to A. Patel (Invictus)                   INVICTUS_CHP700000641
                                Email thread from A. Patel to D. Fournier and others re Customer
                     9/8/2023                                                                            INVICTUS_CHP700001041      INVICTUS_CHP700001042
                                update call
                    9/11/2023 V. Pearce (Orrick) letter to R. Yeh (MoloLamken)                                                                                Chen Delano Exhibit 4
                                A. Patel email to A. Zyngier and ryan@thedevelopers.dev re CEO
                    9/11/2023                                                                            INVICTUS_CHP700001096      INVICTUS_CHP700001097     Chen Delano Exhibit 22
                                update
                    9/11/2023       Email thread from A. Patel to A. Zyngier and others re CEO Update    INVICTUS_CHP700001096      INVICTUS_CHP700001097

                    9/11/2023       Email thread from A. Zyngier to A. Patel and others ere CEO update   INVICTUS_CHP700001533      INVICTUS_CHP700001534
                                    Transcript regarding Hearing Held 9/11/2023 RE: Status Conference
                    9/11/2023
                                    [ECF 607]
                    9/13/2023       Exhibit 5 – J. Ellis (MoloLamken) letter to V. Pearce (Orrick)                                                            Chen Delano Exhibit 5
                    9/13/2023       Email thread from A. Patel to B. Aghevli and others re Update        INVICTUS_CHP700001043      INVICTUS_CHP700001045
                    9/13/2023       Email thread from B. Aghevli to A. Patel and others re Update        INVICTUS_CHP700001277      INVICTUS_CHP700001280
                                    Transcript regarding Hearing Held 9/13/2023 RE: Stay Motion on
                    9/13/2023
                                    Injunction [Adv. 23-50413; ECF 116]
                                    Transcript regarding Hearing Held 9/13/2023 RE: Stay Motion on
                    9/13/2023
                                    Injunction [ECF 617]
                                    Email thread from A. Zyngier and A. Patel and others re Screenshots I
                    9/15/2023                                                                             INVICTUS_CHP700001270     INVICTUS_CHP700001272
                                    said I would send
                                    Email from A. Patel to J. Carino and others re Retention Bonus
                    9/18/2023                                                                             INVICTUS_CHP700001131     INVICTUS_CHP700001133
                                    Questions
                                    Email thread from B. Aghevli to J. Bloom and others re New Policy
                    9/18/2023                                                                          INVICTUS_CHP700002249        INVICTUS_CHP700002251
                                    for MAS Work
                                    Email thread from C. Chen Delano to A. Troop and others re Disney
                    9/19/2023                                                                          INVICTUS_CHP700001644        INVICTUS_CHP700001649
                                    Escrow Agreement
                                    SEALED Declaration of Justin M. Ellis in Support of Invictus’s and
                                    UnumX’s Combined Objection to Motions of Carnival Corporation
                    9/20/2023
                                    Pursuant to 11 U.S.C. § 365(n) [Docket Nos. 256, 514 & 625] [ECF
                                    638]




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       JX              Date                                     Description                                  Begin Bates Number       End Bates Number    Deposition Exhibit Number   Carnival's Objection   Invictus's Objection
                                    SEALED Declaration of Apurva Saxena in Support of Invictus’s and
                                    UnumX’s Combined Objection to Motions of Carnival Corporation
                    9/20/2023
                                    Pursaunt to 11. U.S.C. § 365(n) [Docket Nos. 256, 514 & 625] [ECF
                                    639]
                                    Email from A. Patel to E. Murroni and others re Employment
                    9/20/2023                                                                         INVICTUS_CHP700001111       INVICTUS_CHP700001129
                                    Agreement and attachment
                    9/24/2023       A. Patel email to A. Zyngier and R. Scott re UnumX business plan  INVICTUS_CHP700001098       INVICTUS_CHP700001099     Chen Delano Exhibit 21
                                    Email from A. Patel to A. Zyngier and others re UnumX business
                    9/24/2023                                                                         INVICTUS_CHP700001098       INVICTUS_CHP700001099
                                    plan
                                    Email thread from A. Troop and C. Chen Delano and others re Disney
                    9/25/2023                                                                          INVICTUS_CHP700001879      INVICTUS_CHP700001896
                                    and attachment
                                    Email thread from A. Patel to H. McDonald and others re
                    9/26/2023                                                                          INVICTUS_CHP700001982      INVICTUS_CHP700001986
                                    Disney/DeCurtis - Injunction
                                    Declaration of Cindy Chen Delano in support of DIP Agent’s and
                                    UNUMX’s Objection to Carnival Corporation’s Motion for 11
                    9/27/2023       U.S.C. §105 Relief from Unlawful Strict Foreclosure and for a
                                    Finding of Contempt and Sanctions Under Fed. R. Bankr. P. 9014
                                    and 9020 [ECF 660]
                                    SEALED Declaration of Apurva Saxena in Support of DIP Agent’s
                                    and UnumX’s Objection to Carnival Corporation’s Motion for U.S.C.
                    9/27/2023       § 105 Relief from Unlawful Strict Foreclosure and for a Finding of
                                    Contempt and Sanctions Under Fed. R. Bankr. P. 9014 and 9020
                                    [ECF 661]
                                    Declaration of Cindy Chen Delano in support of DIP Agent’s and
                                    UNUMX’s Objection to Carnival Corporation’s Motion for 11
                    9/27/2023       U.S.C. §105 Relief from Unlawful Strict Foreclosure and for a                                                           Chen Delano Exhibit 2
                                    Finding of Contempt and Sanctions Under Fed. R. Bankr. P. 9014
                                    and 9020 [ECF 660]
                                    SEALED Declaration of Apurva Saxena in Support of DIP Agent’s
                                    and UnumX’s Objection to Carnival Corporation’s Motion for U.S.C.
                    9/27/2023       § 105 Relief from Unlawful Strict Foreclosure and for a Finding of                                                      Chen Delano Exhibit 11
                                    Contempt and Sanctions Under Fed. R. Bankr. P. 9014 and 9020
                                    [ECF 661]
                                    Email thread from U. Ghosh to M. Abebe and others re UnumX –
                    9/27/2023                                                                          INVICTUS_CHP700001818      INVICTUS_CHP700001830
                                    Engagement Letter (Obasanjo) (23307992.1) (002) and attachment
                                    Email thread from B. Aghevli to A. Troop and others re
                    9/27/2023                                                                         INVICTUS_CHP700001987       INVICTUS_CHP700001997
                                    Disney/DeCurtis - Injunction
                                    Email thread from A. Troop to C. Chen Delano re Disney and
                    9/28/2023                                                                         INVICTUS_CHP700002198       INVICTUS_CHP700002199
                                    UnumX Path Forward
                                    Transcript regarding Hearing Held 9/28/2023 RE: Status Conference
                    9/28/2023
                                    [Adv. 23-50413; ECF 133]
                                    SEALED Supplemental Declaration of Erik de la Iglesia on
                    9/29/2023
                                    Anticipated Testimony for October 4, 2023 Hearing [ECF No. 669]
                                Letter from R. Epstein (Quinn Emanuel) to A. Patel and C. Chen
                    9/29/2023                                                                          INVICTUS_CHP700000815      INVICTUS_CHP700000820
                                Delano (Invictus)
                    9/30/2023   Letter from M. Abebe (Blackhill) to C. Chen Delano (Invictus)          INVICTUS_CHP700001831      INVICTUS_CHP700001838
                                Transcript regarding Hearing Held 10/2/2023 RE: Status Conference
                     10/2/2023
                                [Adv. 23-50413; ECF 138]
                                Letter from A. Glenn (Glenn Agre) from to A. Applebaum (DLA
                     10/15/2023                                                                        INVICTUS_CHP700000879      INVICTUS_CHP700000881
                                Piper)
                                The Limited Partner of the Fund letter to F. O’Connor (Treo Asset
                    10/18/2023                                                                         N/A                                                  Chen Delano Exhibit 23
                                Management) [EXHIBIT N]
                                Letter from A. Glenn (Glenn Agre) to F. O’Connor (Invictus) and A.
                    10/18/2023                                                                         INVICTUS_CHP700000791      INVICTUS_CHP700000794
                                Applebaum (DLA Piper)
                                Letter from A. Glenn (Glenn Agre) from to A. Applebaum (DLA
                     10/23/2023                                                                        INVICTUS_CHP700000821      INVICTUS_CHP700000850
                                Piper) with attachments
                                Letter from A. Glenn (Glenn Agre) from to A. Applebaum (DLA
                    10/30/2023                                                                         INVICTUS_CHP700000851      INVICTUS_CHP700000864
                                Piper) with attachment
                                Letter from A. Glenn (Glenn Agre) from to A. Applebaum (DLA
                    10/30/2023                                                                         INVICTUS_CHP700000865      INVICTUS_CHP700000878
                                Piper) with attachment
                                Letter from A. Glenn (Glenn Agre) to F. O’Connor (Invictus) and A.
                      11/2/2023                                                                        INVICTUS_CHP700000795      INVICTUS_CHP700000814
                                Applebaum (DLA Piper) – Demand for Indemnification

                               Invictus Global Management LLC, Amit Patel, and Cindy Chen
                               Delano's First Set of Interrogatories to Carnival Corporation
                    11/20/2023
                               RegardingCarnival's Motion for 11 U.S.C. § 105 Relief From
                               Unlawful Strict Foreclosure and For a Finding of Contempt and
                               Sanctions Under Fed. R. Bankr. 9014 and9020 [Docket No. 635]
                    11/29/2023 Notice of 30(b)(6) Deposition to Invictus Global Mgmt                                                                        Chen Delano Exhibit 1
                               Carnival Corporation’s Responses and Objections to Invictus Global
                    12/4/2023
                               Management, LLC’s Interrogatories
                    12/20/2023
                                    Deposition Transcript of Amit Patel
                    12/21/2023
                                    Deposition Transcript of Cindy Chen Delano
                                    Transcript regarding Hearing Held 06/15/2023 RE: Court Ruling
                     6/15/2023
                                    (Carnival Stay Motion) [ECF 244]
                                    [Additional Supplemental Declaration of Erik de la Iglesia to be
                                    submitted]
                                    Documents evidencing Carnival’s fees and expenses incurred in
                                    connection with strict foreclosure and sanctions motion.
                                    Excel – NEED DESCRIPTION                                           INVICTUS_CHP700000647                                Chen Delano Exhibit 17
                                    Senate Report No. 100-505 re Intellectual Property Licenses in
                                                                                                       N/A
                                    Bankruptcy Dates of Consideration and Passage [ECF 517; Ex. 14]
                                    Permitted Liens in Redline                                         INVICTUS_CHP700000087      INVICTUS_CHP700000110
                                    Consulting Proposal for Technology Assessment and Strategic
                                                                                                       INVICTUS_CHP700000642      INVICTUS_CHP700000646
                                    Planning of UnumX
                                    Excel Spreadsheet                                                  INVICTUS_CHP700000647
                                    Excel – UnumX DeCurtis Transactions Pos                            INVICTUS_CHP700000789




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